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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

UNITED STATES,                                       )
                                                     )
                                  Plaintiff,         )
                                                     )
v.                                                   )     Case No. 12-20083-KHV
                                                     )
JEFFERY DAVID PAIVA,                                 )
                                                     )
                                  Defendant.         )


                                               ORDER

         This case comes before the undersigned U.S. Magistrate Judge, James P. O’Hara,

on the motion of Frederick Remer, to withdraw as attorney of record for the defendant,

Jeffery David Paiva (doc. 450). For the reasons stated below, the motion is granted.

         On August 27, 2012, the government filed a motion (doc. 408) to disqualify Mr.

Remer as counsel in this matter. The government explains that Mr. Remer represented

one of Mr. Paiva’s codefendants in a separate criminal matter during the time of the

alleged conspiracy, and, as such, he has a conflict of interest in this matter. In light of the

government’s motion, Mr. Remer requests to be removed as counsel of record for Mr.

Paiva.

         At this time, Mr. Paiva is also represented by Harris B. Taback, appearing pro

hace vice, and James L. Spies, local counsel of record. Given that this criminal matter is

at a preliminary stage and that Mr. Paiva will continue to be represented by other counsel

or record, the court grants Mr. Remer’s motion to withdraw as attorney for Mr. Paiva.


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Within 10 days of this order, Mr. Remer shall transmit copies of all documents in his

possession pertinent to the case to attorneys Mr. Taback and Mr. Spies.

        In consideration of the foregoing, the government’s motion to disqualify counsel

(doc. 408) is denied as moot. The motion hearing set for October 25, 2012 at 9:00 a.m.

before U.S. Magistrate Judge, James P. O’Hara, is hereby cancelled.

        IT IS SO ORDERED.

        Dated October 15, 2012, at Kansas City, Kansas.



                                          s/ James P. O’Hara
                                         James P. O’Hara
                                         U. S. Magistrate Judge




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